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                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
Christopher M. Wolpert                                                               Jane K. Castro
Clerk of Court                                                                   Chief Deputy Clerk
                                         July 11, 2022

Mr. Andrew Grimm
Digital Justice Foundation
15287 Pepperwood Drive
Omaha, NE 68154

RE:         21-4128, Greer v. Moon, et al
            Dist/Ag docket: 2:20-CV-00647-TC

Dear Counsel:

The appendix received in the subject case does not comply with the form requirements of
10th Cir. R. 30.1(D) (note that all form requirements also apply to supplemental
appendices). Specifically:

    •     Pagination of the appendix must start with the cover page. The pagination for
          Volume 2 does not begin with the cover page. See 10th Cir. R. 30.1(D)(1).
    •     The appendix does not contain bookmarks. Volume 2 does not contain
          bookmarks. See 10th Cir. R. 25.3, 10th Cir. R. 30.1(D), and the 10th Circuit
          CM/ECF User's Manual at Section III G (page 19).

You must file a proper electronic appendix within three days of the date of this notice. Do
not file paper copies of your appendix {and brief} until the court has received the
corrected electronic appendix and issued notice it is compliant.

The brief that was submitted with the appendix was previously deemed acceptable for
filing and will be filed upon receipt of the corrected appendix. However, if the
corrections made to the appendix affect citations in the brief, a revised brief with
corrected appendix citations will need to be submitted.

The time to file a response brief will run from the date of service of the appendix.
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Please contact this office if you have questions.

                                            Sincerely,



                                            Christopher M. Wolpert
                                            Clerk of Court



cc:       Greg G. Skordas




CMW/klp




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